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                           STATEMENT OF FINANCIAL AFFAIRS FOR
                       JACK COOPER HOLDINGS CORP. (CASE NO. 19-62410)




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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

                                                                           )
    In re:                                                                 )    Chapter 11
                                                                           )
    JACK COOPER VENTURES, INC., et al.1                                    )    Case No. 19-62393 (PWB)
                                                                           )
                                                Debtors.                   )    (Jointly Administered)
                                                                           )

       GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
        AND DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS
          AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                    Introduction

        The Schedules of Assets and Liabilities (collectively, the “Schedules”) and Statements of
Financial Affairs (collectively, the “Statements,” and, together with the Schedules, the “Schedules
and Statements”) filed by Jack Cooper Ventures, Inc. and its affiliates as debtors and debtors in
possession (collectively, the “Debtors”) in the United States Bankruptcy Court for the Northern
District of Georgia (the “Bankruptcy Court”) were prepared in accordance with section 521 of title
11 of the United States Code (the “Bankruptcy Code”), and Rule 1007 of the Federal Rules of
Bankruptcy Procedure by management of the Debtors, with the assistance of the Debtors’
professional advisors, and are unaudited.

       The Schedules and Statements have been signed by Greg May, Chief Financial Officer of
the Debtors. Mr. May has not (nor could have) personally verified the accuracy of each such
statement and representation, including, for example, statements and representations concerning
amounts owed to creditors, classification of such amounts, and their addresses. In addition,
Mr. May has not (nor could have) personally verified the completeness of the Schedules and
Statements, nor the accuracy of any information contained therein. In reviewing and signing the

1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Jack Cooper Ventures, Inc. (0805); Jack Cooper Diversified, LLC (9414); Jack Cooper
      Enterprises, Inc. (3001); Jack Cooper Holdings Corp. (2446); Jack Cooper Transport Company, Inc. (3030); Auto
      Handling Corporation (4011); CTEMS, LLC (7725); Jack Cooper Logistics, LLC (3433); Auto & Boat
      Relocation Services, LLC (9095); Axis Logistic Services, Inc. (2904); Jack Cooper CT Services, Inc. (3523);
      Jack Cooper Rail and Shuttle, Inc. (7801); Jack Cooper Investments, Inc. (6894); North American Auto
      Transportation Corp. (8293); Jack Cooper Transport Canada, Inc. (8666); Jack Cooper Canada GP 1 Inc. (7030);
      Jack Cooper Canada GP 2 Inc. (2373); Jack Cooper Canada 1 Limited Partnership (3439); and Jack Cooper
      Canada 2 Limited Partnership (7839). The location of the Debtors’ corporate headquarters and service address is:
      630 Kennesaw Due West Road NW, Kennesaw, Georgia 30152.
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Schedules and Statements, Mr. May necessarily relied upon various personnel of the Debtors and
the Debtors’ professional advisors and their efforts, statements, and representations in connection
therewith. Although management has made reasonable efforts to ensure that the Schedules and
Statements are accurate and complete based upon information that was available to them at the
time of preparation, subsequent information or discovery thereof may result in material changes
to the Schedules and Statements, and inadvertent errors, inaccuracies or omissions may exist.

        These Global Notes and Statement of Limitations, Methods, and Disclaimer Regarding the
Schedules and Statements (the “Global Notes”) pertain to, are incorporated by reference in, and
comprise an integral part of all of the Schedules and Statements. The Global Notes should be
referred to and reviewed in connection with any review of the Schedules and Statements. The
Global Notes are in addition to any specific notes contained in any Debtor’s Schedules or
Statements. Disclosure of information in one Schedule, Statement, exhibit, or continuation sheet,
even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule, Statement,
exhibit, or continuation sheet.

      The Schedules, Statements, and Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors.

                         Global Notes and Overview of Methodology

1.   General Reservation of Rights. Although the Debtors’ management has made every
     reasonable effort to ensure that the Schedules and Statements are as accurate and complete
     as possible under the circumstances based on information that was available to it at the time
     of preparation, subsequent information or discovery may result in material changes to the
     Schedules and Statements, and inadvertent errors or omissions may have occurred, some of
     which may be material. Because the Schedules and Statements contain unaudited
     information, which remains subject to further review, verification, and potential adjustment,
     there can be no assurance that the Schedules and Statements are complete. The Debtors
     reserve all rights to amend the Schedules and Statements from time to time, in any and all
     respects, as may be necessary or appropriate, including the right to dispute or otherwise assert
     offsets or defenses to any claim reflected in the Schedules and Statements as to amount,
     liability, or classification, or to otherwise subsequently designate any claim (“Claim”) as
     “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the
     Schedules and Statements shall constitute an admission of any claims or a waiver of any of
     the Debtors’ rights with respect to these chapter 11 cases, including issues involving
     substantive consolidation, recharacterization, equitable subordination, and/or causes of
     action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant
     non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
     contained elsewhere in the Global Notes does not limit in any respect the general reservation
     of rights contained in this paragraph.

2.   Description of Cases and “As Of” Information Date. On August 6, 2019 (the “Petition
     Date”), each of the Debtors filed voluntary petitions for relief under chapter 11 of the
     Bankruptcy Code in the Bankruptcy Court. The Debtors’ chapter 11 cases are jointly
     administered for procedural purposes only pursuant to an order entered by the Bankruptcy


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     Court on August 8, 2019 [Docket No. 57]. The Debtors continue to operate their businesses
     and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108
     of the Bankruptcy Code. No request for the appointment of a trustee or examiner has been
     made in these chapter 11 cases. Unless otherwise stated herein, the assets and liabilities are
     reported as of July 31, 2019.

3.   Basis of Presentation. The Schedules and Statements purport to reflect the assets and
     liabilities of separate Debtors. The Debtors, however, along with their wholly-owned non-
     Debtor subsidiaries, prepare financial statements for financial reporting purposes, which are
     audited annually, on a consolidated basis. Moreover, the Debtors generally operate and
     account for transactions, including many ordinary course daily transactions, through one of
     their four main operating subsidiaries: Jack Cooper Transport Company, Inc., Jack Cooper
     Logistics, LLC, Auto & Boat Relocation Services, LLC and CTEMS, LLC (the “Primary
     Operating Debtors”). For these reasons, the Debtors have largely attributed their assets and
     liabilities for purposes of completing the Schedules and Statements to one or more of the
     Primary Operating Debtors and as a result, unless indicated otherwise, the assets and
     liabilities are not presented at the individual Debtor level. There are instances, however,
     when another Debtor engages in a specific transaction or series of transactions which might
     generate assets, liabilities or other entries reported in the Schedules and Statements. When
     practicable, the Schedules and Statements reflect the assets and liabilities of each separate
     Debtor. But certain assets and liabilities reported in the Schedules of one or more of the
     Primary Operating Debtors may, in fact, be owned by one of the other Debtors. However, it
     would be unduly burdensome and an inefficient use of estate assets for the Debtors to allocate
     all of their assets and liabilities other than as described above. The Debtors reserve all rights
     relating to the legal ownership of assets and liabilities among the Debtors and nothing in the
     Schedules or Statements shall constitute a waiver or relinquishment of such
     rights. Information contained in the Schedules and Statements has been derived from the
     Debtors’ books and records. The Schedules and Statements do not purport to represent
     financial statements prepared in accordance with Generally Accepted Accounting Principles
     nor are they intended to be fully reconcilable to audited financial statements.

4.   Totals. All totals that are included in the Schedules and Statements represent totals of all
     known amounts included in the Debtors’ books and records. To the extent there are unknown
     or undetermined amounts, the actual totals may be different than the listed total, and the
     difference may be material. In addition, the amounts shown for total liabilities exclude items
     identified as “unknown,” “disputed,” “contingent,” “unliquidated,” or “undetermined,” and,
     thus, ultimate liabilities may differ materially from those stated in the Schedules and
     Statements. To the extent a Debtor is a guarantor of debt held by another Debtor, the amounts
     reflected in the Schedules are inclusive of each Debtor’s guarantor obligations.

5.   Excluded Assets and Liabilities. The Debtors have excluded certain categories of assets,
     tax accruals, and liabilities from the Schedules and Statements, including goodwill,
     intangibles, and certain accrued liabilities including, but not limited to, accrued employee
     compensation and benefits, certain customer accruals, tax accruals, accrued accounts
     payable, accrued contract termination damages, deferred income accruals, litigation accruals,
     and certain deposits. The Debtors have also excluded potential Claims arising on account of
     the potential rejection of executory contracts and unexpired leases, to the extent such Claims


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      exist. Certain immaterial assets and liabilities that are not reported or tracked centrally may
      have been excluded.

6.    Amendments and Supplements; All Rights Reserved. Reasonable efforts have been made
      to prepare and file complete and accurate Schedules and Statements; inadvertent errors or
      omissions, however, may exist. The Debtors reserve all rights, but are not required, to amend
      and/or supplement the Schedules and Statements from time to time as is necessary and
      appropriate.

7.    References. Reference to applicable loan agreements and related documents is necessary
      for a complete description of the collateral and the nature, extent, and priority of liens and/or
      claims. Nothing in the Global Notes or the Schedules and Statements shall be deemed a
      modification or interpretation of the terms of such agreements.

8.    Currency. All amounts are reflected in U.S. dollars.

9.    Book Value. Unless otherwise indicated, the Debtors’ assets are shown on the basis of their
      net book values as of July 31, 2019, and the Debtors’ liabilities are shown on the basis of
      their net book values as of July 31, 2019. Thus, unless otherwise noted, the Schedules and
      Statements reflect the carrying value of the assets and liabilities as recorded on the Debtors’
      books. Net book values may vary, sometimes materially, from market values. The Debtors
      do not intend to amend these Schedules and Statements to reflect market values.

10.   Paid Claims. The Bankruptcy Court authorized the Debtors to pay certain outstanding
      prepetition Claims—including, but not limited to, payments to employees, customers, and
      certain vendors—pursuant to various “first day” orders entered by the Bankruptcy Court.
      Accordingly, certain outstanding liabilities may have been reduced by post-petition
      payments made on account of prepetition liabilities. Where the Schedules list creditors and
      set forth the Debtors’ scheduled amount of such Claims, such scheduled amounts reflect
      amounts owed as of August 5, 2019. In addition, to the extent the Debtors later pay any of
      the Claims listed in the Schedules and Statements pursuant to any orders entered by the
      Bankruptcy Court, the Debtors reserve all rights to amend or supplement the Schedules and
      Statements or take other action, such as filing Claims objections, as is necessary and
      appropriate to avoid overpayment or duplicate payments for liabilities.

11.   Recharacterization. Notwithstanding that the Debtors have made reasonable efforts to
      correctly characterize, classify, categorize, or designate certain Claims, assets, executory
      contracts, unexpired leases, and other items reported in the Schedules and Statements, the
      Debtors nonetheless may have improperly characterized, classified, categorized, or
      designated certain items. The Debtors reserve all rights to recharacterize, reclassify,
      recategorize, or redesignate items reported in the Schedules and Statements at a later time as
      they determine to be necessary and appropriate.

12.   Claims of Third-Party Entities. Although the Debtors have made reasonable efforts to
      classify properly each Claim listed in the Schedules as being either disputed or undisputed,
      liquidated or unliquidated, and/or contingent or non-contingent, the Debtors have not been
      able to fully reconcile all payments made to certain third-party entities on account of the



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      Debtors’ obligations to both such entity and its affiliates. Therefore, to the extent that the
      Debtors have classified their estimate of Claims of a creditor as disputed, for example, all
      Claims of such creditor’s affiliates listed in the Schedules and Statements shall similarly be
      considered disputed, whether or not they are individually designated as such.

13.   Liabilities. The Debtors allocated liabilities between the prepetition and post-petition
      periods based on the information and research conducted in connection with the preparation
      of the Schedules and Statements. As additional information becomes available, and further
      research is conducted, particularly with respect to the Debtors’ payable accounts, the
      allocation of liabilities between the prepetition and post-petition periods may change. The
      Debtors reserve the right to, but are not required to, amend the Schedules and Statements as
      they deem appropriate to reflect this.

      The liabilities listed on the Schedules and Statements do not reflect any analysis of claims
      under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all rights
      to dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
      Bankruptcy Code or the characterization of the structure of any such transaction or any
      document or instrument related to any creditor’s Claim.

14.   Guarantees and Other Secondary Liability Claims. Where guarantees have been
      identified, they have been included in the relevant liability Schedule for the Debtor or
      Debtors affected by such guarantee. The Debtors have also listed such guarantees on the
      applicable Schedule H. It is possible that certain guarantees embedded in the Debtors’
      executory contracts, unexpired leases, secured financings, debt instruments, and other such
      agreements may have been inadvertently omitted. The Debtors reserve their rights to amend
      the Schedules to the extent that additional guarantees are identified or such guarantees are
      discovered to have expired or be unenforceable.

15.   Intercompany Claims. The Debtors and/or the Debtors and non-debtor subsidiaries
      maintain business relationships among each other in the ordinary course of business,
      resulting in intercompany receivables, payables, intercompany notes receivable and notes
      payable, and investment in subsidiary balances (the “Intercompany Claims”). Such
      Intercompany Claims arise (a) by and among the Debtors, and (b) by and among the Debtors
      and non-Debtor subsidiaries pursuant to intercompany arrangements. The respective
      intercompany accounts for each Debtor as of July 31, 2019 include intercompany accounts
      payable and accounts receivable and are listed at the net amount due to/due from the Debtors
      on Schedule A/B, P11, Question 77, intercompany notes payable are listed on Schedule A/B,
      Part 11, Question 71, intercompany notes receivable are listed on Schedule E/F, Part 2, and
      investment in subsidiary balances are listed on Schedule A/B, P11, Question 77.

16.   Intellectual Property Rights. Exclusion of certain intellectual property shall not be
      construed to be an admission that such intellectual property rights have been abandoned,
      have been terminated or otherwise expired by their terms, or have been assigned or otherwise
      transferred pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of
      certain intellectual property shall not be construed to be an admission that such intellectual
      property rights have not been abandoned, have not been terminated or otherwise expired by
      their terms, or have not been assigned or otherwise transferred pursuant to a sale, acquisition,


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      or other transaction. The Debtors have made significant efforts to attribute intellectual
      property to the rightful Debtor owner, however, in some instances intellectual property
      owned by one Debtor may, in fact, be owned by another. Accordingly, the Debtors reserve
      all of their rights with respect to the legal status of any and all such intellectual property
      rights.

17.   Executory Contracts and Unexpired Leases. The Debtors have not set forth executory
      contracts or unexpired leases as assets in the Schedules and Statements. The Debtors’
      executory contracts and unexpired leases have been set forth in Schedule G. In addition,
      while the Debtors have made diligent attempts to properly identify all executory contracts
      and unexpired leases, inadvertent errors, omissions, or over inclusion may have occurred.

18.   Claims Description. Schedules D, E, and F permit each of the Debtors to designate a Claim
      as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
      given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
      does not constitute an admission by the Debtor that such amount is not “disputed,”
      “contingent,” or “unliquidated” or that such Claim is not subject to objection. The Debtors
      reserve all rights to dispute any Claim reflected on their respective Schedules and Statements
      on any grounds, including, without limitation, liability or classification, or to otherwise
      subsequently designate such Claims as “disputed,” “contingent,” or “unliquidated.” In
      addition, the Debtors reserve their rights to object to any listed Claim on the grounds that,
      among other things, the Claim has already been satisfied.

19.   Causes of Action. Despite their reasonable efforts, the Debtors may not have listed all of
      their causes of action or potential causes of action against third parties as assets in their
      Schedules and Statements, including, without limitation, avoidance actions arising under
      chapter 5 of the Bankruptcy Code and actions under other relevant non-bankruptcy laws to
      recover assets. The Debtors reserve all of their rights for any claims, causes of action, or
      avoidance actions they may have, and neither these Global Notes nor the Schedules and
      Statements shall be deemed a waiver of any such claims, causes of actions, or avoidance
      actions or in any way prejudice or impair the assertion of such claims.

20.   Undetermined Amounts. Claim amounts that could not readily be quantified by the Debtors
      are scheduled as “unknown,” “TBD,” or “undetermined”. The description of an amount as
      “unknown,” “TBD,” or “undetermined” is not intended to reflect upon the materiality of such
      amount.

21.   Unliquidated Amounts. Claim amounts that could not be readily quantified by the Debtors
      are scheduled as “unliquidated”.

22.   Liens. Property and equipment listed in the Schedules and Statements are presented without
      consideration of any liens that may attach (or have attached) to such property or equipment.

23.   Employee Addresses. Current employee, former employee, and director addresses have
      been removed from entries listed throughout the Schedules and Statements, where
      applicable.




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24.   Global Notes Control. In the event that the Schedules and Statements differ from these
      Global Notes, the Global Notes shall control.

25.   Confidentiality: There may be instances in the Schedules and Statements where the Debtors
      have deemed it necessary and appropriate to redact from the public record information such
      as names, addresses, or amounts. Typically, the Debtors have used this approach because of
      an agreement between the Debtors and a third party, concerns of confidentiality, or concerns
      for the privacy of, or otherwise preserving the confidentiality of, personally identifiable
      information.

26.   Estimates. To prepare and file the Schedules as close to the Petition Date as possible,
      management was required to make certain estimates and assumptions that affected the
      reported amounts of these assets and liabilities. The Debtors reserve all rights to amend the
      reported amounts of assets and liability to reflect changes in those estimates or assumptions.

27.   Fiscal Year. Each Debtors’ fiscal year ends on December 31.

28.   Interests in Subsidiaries and Affiliates. Debtor Jack Cooper Investments, Inc. is the 100%
      equity holder of Debtor Jack Cooper Ventures, Inc., which in turn is a holding company with
      each of the other Debtors being wholly-owned directly or indirectly subsidiaries of Jack
      Cooper Ventures, Inc. Each Debtor’s Schedule A/B15 or Statement 25 contains a listing of
      the current capital structure of the Debtors and includes ownership interests.

29.   Umbrella or Master Agreements. Contracts listed in the Schedules and Statements may
      be umbrella or master agreements that cover relationships with some or all of the Debtors.
      Where relevant, such agreement have been listed in the Schedules and Statements only of
      the Debtor that signed the original umbrella or master agreement.

30.   Credits and Adjustments. The claims of individual creditors for, among other things,
      goods, products, services, or taxes are listed as the amounts entered on the Debtors’ books
      and records and may not reflect credits, allowances, or other adjustments due from such
      creditors to the Debtors. The Debtors reserve all of their rights with regard to such credits,
      allowances, and other adjustments, including the right to assert claims objections and/or
      setoffs with respect to the same.

31.   Setoffs. The Debtors incur certain setoffs and other similar rights during the ordinary course
      of business. Offsets in the ordinary course can result from various items, including, without
      limitation, intercompany transactions, pricing discrepancies, returns, warranties, and other
      disputes between the Debtors and their suppliers. These offsets and other similar rights are
      consistent with the ordinary course of business in the Debtors’ industry and are not tracked
      separately. Therefore, although such offsets and other similar rights may have been
      accounted for when certain amounts were included in the Schedules, offsets are not
      independently accounted for, and as such, are excluded from the Schedules.

32.   Insiders. In the circumstance where the Schedules and Statements require information
      regarding “insiders” the Debtors have included information with respect to the individuals
      and entities that the Debtors believe are included in the definition of “insider” set forth in
      section 101(31) of the Bankruptcy Code during the relevant time periods. Such individuals


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      may no longer serve in such capacities. In the interest of additional disclosure, the Debtors
      have also included certain individuals who may have officer titles in their responses to
      Statements, Part 13, Question 28.

      Persons listed as “insiders” have been included for informational purposes only. The Debtors
      do not take any position with respect to: (a) such person’s influence over the control of the
      Debtors; (b) the management responsibilities or functions of such individual; (c) the
      decision-making or corporate authority of such individual; or (d) whether such individual
      could successfully argue that he or she is not an “insider” under applicable law, including
      the federal securities laws, or with respect to any theories of liability or for any other purpose.

33.   Payments. The financial affairs and business of the Debtors are complex. Prior to the Petition
      Date, the Debtors maintained a cash management and disbursement system in the ordinary
      course of their businesses (the “Cash Management Systems”) (as described in the Debtors’
      Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Continue
      Using the Cash Management System and (B) Maintaining Existing Bank Accounts and
      Business Forms, (II) Authorizing Continued Intercompany Transactions, (III) Granting
      Administrative Expense Status to Intercompany Claims, and (IV) Granting Related Relief
      [Docket No. 9]). Although efforts have been made to attribute open payable amounts to the
      correct legal entity, the Debtors reserve the right to modify or amend their Schedules and
      Statements to attribute such payment to a different legal entity, if appropriate.

34.   Totals. All totals that are included in the Schedules and Statements represent totals of all the
      known amounts included in the Schedules and Statements. To the extent there are unknown
      or undetermined amounts, the actual total may be different than the listed total. The
      description of an amount as “unknown” or “undetermined” is not intended to reflect upon
      the materiality of such amount. To the extent a Debtor is a guarantor of debt held by another
      Debtor, the amounts reflected in these Schedules are inclusive of each Debtor’s guarantor
      obligations.

35.   Gross Revenue. Amounts listed for gross revenue in Part 1 of the Statements from the
      beginning of fiscal year to filing date reflects gross revenue from such Debtor’s business for
      the period of January 1, 2019 through and including August 5, 2019.

                          General Disclosures Applicable to Schedules

1.    Classifications. Listing a Claim (a) on Schedule D as “secured,” (b) on Schedule E as
      “priority,” or (c) on Schedule F as “unsecured,” or a contract on Schedule G as “executory”
      or “unexpired,” does not in each case constitute an admission by the Debtors of the legal
      rights of the claimant, or a waiver of the Debtors’ right to recharacterize or reclassify such
      Claim or contract.

2.    Schedule A/B - Real and Personal Property. The Debtors have only included open
      accounts payable that the Debtors have received as of August 5, 2019.

            a) Schedule A/B.3. Bank account balances are as of the end of business on August 5,
               2019.



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        b) Schedule A/B.11. Lists accounts receivable as of July 31, 2019. Additionally, it
           would be unduly burdensome and impractical to list accounts receivable itemized
           on a payee by payee basis. As such, the accounts receivable are presented in the
           aggregate on a Debtor by Debtor basis and identified as accounts receivable that
           are aged 90 days or less, and accounts receivable aged greater than 90 days.

        c) Schedule A/B.15. Equity interests in subsidiaries and affiliates arise from common
           stock ownership. For purposes of these Schedules, the Debtors have listed an
           undetermined value for the equity interests. The book values of certain assets may
           materially differ from their fair market values and/or the liquidation of the assets
           prepared in connection with the Disclosure Statement.

        d) Schedule A/B; Part 7: Office furniture, fixtures, equipment, and collectibles are
           recorded at cost and depreciated on a straight-line basis over the estimated useful
           lives of the assets. When office furniture or computer equipment is sold or
           otherwise disposed of, the asset and related accumulated depreciation accounts are
           relieved, and any resulting gain or loss is reflected in earnings.

        e) Schedules A/B.39-41: It would be time consuming and an inefficient use of the
           Debtors’ estates’ assets, or impracticable, to review and assign each interest in
           office furniture, fixtures, equipment, and collectibles to a specific Debtor.
           Consequently, Schedules A/B.39-41 may list interests in office furniture, fixtures,
           equipment, and collectibles of other Debtors.

        f) Schedule A/B; Part 8: Machinery, equipment and vehicles are recorded at cost
           and depreciated on a straight-line basis over the estimated useful lives of the assets.
           When machinery, equipment, and vehicles are sold or otherwise disposed of, the
           asset and related accumulated depreciation accounts are relieved and any resulting
           gain or loss is reflected in earnings.

        g) Schedule A/B.47: It would be time consuming and an inefficient use of the
           Debtors’ estates’ assets, or impracticable, to review and assign each interest in a
           vehicle or other piece of machinery to a specific Debtor. Consequently, Schedule
           A/B.47 may list interests in machinery of other Debtors.

        h) Schedule A/B; Part 9: Real Property is recorded at cost and depreciated (as
           appropriate) on a straight-line basis over the estimated useful lives of the assets.
           Leasehold improvements are depreciated over the shorter of the remaining expected
           lease term or the estimated useful lives of the assets. Costs of improvements and
           renewals are capitalized, while costs of normal maintenance and repairs are charged
           to expense as incurred. When property is sold or otherwise disposed of, the asset
           and related accumulated depreciation accounts are relieved and any resulting gain
           or loss is reflected in earnings.

        i) Schedule A/B.50: It would be time consuming and an inefficient use of the
           Debtors’ estates’ assets, or impracticable, to review and assign each interest in
           machinery, fixtures, and equipment to a specific Debtor. Consequently, Schedule


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           A/B.50 may list interests in machinery, fixtures, and equipment relating to other
           Debtors. If any such machinery, fixtures, and equipment are leased, the applicable
           leases will appear on the relevant Debtor’s Schedule G of executory contracts and
           unexpired leases; however, the corresponding value of the leasehold interest will
           be reflected in Schedule A/B.50 as “undetermined” and included in the aggregate
           amount reported by the corresponding Primary Operating Debtor.

        j) Schedule A/B.55: It would be time consuming and an inefficient use of the
           Debtors’ estates’ assets, or impracticable, to review and assign each interest in real
           property relating to office and plant locations to a specific Debtor. Consequently,
           Schedule A/B.55 may list interests in real property relating to offices of other
           Debtors. If any such real property is leased, the applicable leases will appear on
           the relevant Debtor’s Schedule G of executory contracts and unexpired leases;
           however, the corresponding value of the leasehold interest will be reflected in
           Schedule A/B.50 as “undetermined” and included in the aggregate amount reported
           by the corresponding Primary Operating Debtor.

        k) Schedule A/B.60: It would be time consuming and an inefficient use of the
           Debtors’ estates’ assets, or impracticable, to review and assign each interest in
           patents, copyrights, trademarks, and trade secrets to a specific Debtor.
           Consequently, Schedule A/B.55 may list interests in patents, copyrights,
           trademarks, and trade secrets relating to offices of other Debtors. If any such
           patents, copyrights, trademarks, and trade secrets are leased, the applicable leases
           will appear on the relevant Debtor’s Schedule G of executory contracts and
           unexpired leases; however, the corresponding value of the leasehold interest will
           be reflected in Schedule A/B.50 as “undetermined” and included in the aggregate
           amount reported by the corresponding Primary Operating Debtor.

        l) Schedule A/B.74: Despite exercising their reasonable efforts to identify all known
           assets, the Debtors may not have listed all of their causes of action or potential
           causes of action against third parties as assets in their Schedules including, but not
           limited to, avoidance actions arising under chapter 5 of the Bankruptcy Code and
           actions under other relevant non-bankruptcy laws to recover assets. Unless
           otherwise noted on specific responses, items reported on Schedule A/B are reported
           from the Debtors’ book and records as of July 31, 2019. The Debtors reserve all of
           their rights with respect to any claims and causes of action they may have. Neither
           these Global Notes nor the Schedules shall be deemed a waiver of any such claims
           or causes of action or to prejudice or impair the assertion thereof in any way.

        m) Schedule A/B.75: In the ordinary course of business, the Debtors may have
           accrued, or may in the future accrue, certain rights to counter-claims, cross-claims,
           setoffs, and/or refunds with Debtors’ customers and suppliers, or potential warranty
           claims against their suppliers. Additionally, certain of the Debtors may be party to
           pending litigation in which the Debtors have asserted, or may assert, claims as a
           plaintiff or counter-claims and/or cross-claims as a defendant. Because such claims
           are unknown to the Debtors and not quantifiable as of the Petition Date, they are
           not listed on Schedule A/B.75.


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          n) Schedule A/B.77. The Debtors maintain certain accounts receivable accounts,
             excluding vendor trade receivables, which are not aged. Such accounts are listed
             in Schedule A/B. 77.

3.   Schedule D - Creditors Holding Secured Claims. The Claims listed on Schedule D arose
     or were incurred on various dates; a determination of the date upon which each Claim arose
     or was incurred would be unduly burdensome and cost prohibitive. Accordingly, not all such
     dates are included for each Claim. All Claims listed on Schedule D, however, appear to have
     arisen or have been incurred before the Petition Date.

     Except as otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy
     Court, the Debtors reserve their rights to dispute or challenge the validity, perfection, or
     immunity from avoidance of any lien purported to be granted or perfected in any specific
     asset of a secured creditor listed on Schedule D of any Debtor. Moreover, although the
     Debtors have scheduled Claims of various creditors as secured Claims, the Debtors reserve
     all of their rights to dispute or challenge the secured nature of any such creditor’s Claim or
     the characterization of the structure of any such transaction or any document or instrument
     related to such creditor’s Claim. Further, while the Debtors have included the results of
     Uniform Commercial Code searches, the listing of such results is not, nor shall it be deemed,
     an admission as to the validity of any such lien. The descriptions provided in Schedule D
     are solely intended to be a summary and not an admission of liability. The Debtors made
     reasonable, good faith efforts to include all known liens on Schedule D but may have
     inadvertently omitted to include an existing lien because of, among other things, the
     possibility that a lien may have been imposed after the Uniform Commercial Code searches
     were performed or a vendor may not have filed the requisite perfection documentation.

     Except as specifically stated on Schedule D, real property lessors, utility companies, and
     other parties that may hold security deposits have not been listed on Schedule D. The Debtors
     reserve their rights to amend Schedule D to the extent that the Debtors determine that any
     Claims associated with such agreements should be reported on Schedule D.

     Moreover, the Debtors have not included on Schedule D parties that may believe their Claims
     are secured through setoff rights or inchoate statutory lien rights. Although there are multiple
     parties that hold a portion of the debt included in the Debtors’ prepetition secured credit
     facilities, only the administrative agents have been listed for purposes of Schedule D.

4.   Schedule E– Creditors Holding Unsecured Claims. The Debtors have not listed on
     Schedule E any wage or wage-related obligations which the Debtors have been granted
     authority to pay pursuant to the Debtors’ Motion for Entry of Interim and Final Orders
     Authorizing the Debtors to (I) Pay Certain Prepetition Wages, Salaries, Other
     Compensation, and Reimbursable Employee Expenses and (II) Continue Employee Benefits
     [Docket No. 17]. The Debtors believe that all such Claims have been or will be satisfied in
     the ordinary course during these chapter 11 cases pursuant to the authority granted in the
     relevant order.

     The Debtors have not listed on Schedule E any tax related obligations, save for open tax
     audits, which the Debtors have been granted authority to pay pursuant to the Debtors’ Motion


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     for Entry of Interim and Final Orders Authorizing the Payment of Certain Prepetition Taxes
     and Fees [Docket No. 10]. The Debtors believe that all such Claims have been or will be
     satisfied in the ordinary course during these chapter 11 cases pursuant to the authority granted
     in the relevant order.

5.   Schedule F– Creditors Holding Unsecured Claims. The Debtors have used reasonable
     efforts to report all general unsecured Claims against the Debtors on Schedule F based upon
     the Debtors’ existing books and records as of August 5, 2019; however, inadvertent errors or
     omissions may have occurred. The Claims listed on Schedule F arose or were incurred on
     various dates. In certain instances, the date on which a Claim arose is an open issue of fact.
     In addition, the Claims of individual creditors for, among other things, goods or services are
     listed as either the lower of the amounts invoiced by such creditor or the amounts entered on
     the Debtors’ books and records and may not reflect credits, rebates, or allowances due from
     such creditors to the applicable Debtors. The Claims and amounts listed in respect of certain
     trade payables reflect payments by the Debtors pursuant to applicable “first day” orders and
     amounts to be paid later pursuant to “second day” orders. Certain Debtors may pay additional
     Claims listed on Schedule F during these chapter 11 cases pursuant to these and other orders
     of the Bankruptcy Court and reserve all of their rights to update Schedule F to reflect such
     payments. In addition, certain Claims listed on Schedule F may be entitled to priority under
     section 503(b)(9) of the Bankruptcy Code.

     Schedule F also contains information regarding pending litigation and involving the Debtors.
     The dollar amount of potential Claims associated with any such pending litigation is listed
     as “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
     and Statements. Some of the litigation Claims listed on Schedule F may be subject to
     subordination pursuant to section 510 of the Bankruptcy Code. Schedule F also includes
     potential or threatened legal disputes that are not formally recognized by an administrative,
     judicial, or other adjudicative forum due to certain procedural conditions that counterparties
     have yet to satisfy.

6.   Schedule G – Executory Contracts and Unexpired Leases. While every effort has been
     made to ensure the accuracy of Schedule G, inadvertent errors or omissions may have
     occurred. Each lease and contract listed in Schedule G may include one or more ancillary
     documents, including any underlying assignment and assumption agreements, amendments,
     supplements, full and partial assignments, renewals and partial releases. Certain of the leases
     and contracts listed on Schedule G may contain certain renewal options, guarantees of
     payment, options to purchase, rights of first refusal, and other miscellaneous rights. Such
     rights, powers, duties, and obligations are not set forth on Schedule G. In addition, the
     Debtors may have entered into various other types of agreements in the ordinary course of
     business, such as financing agreements, subordination, nondisturbance agreements,
     supplemental agreements, amendments/letter agreements, title agreements, and
     confidentiality agreements. Such documents may not be set forth on Schedule G. Certain
     of the contracts, agreements, and leases listed on Schedule G may have been entered into by
     more than one of the Debtors. Further, the specific Debtor obligor to certain of the executory
     contracts could not be specifically ascertained in every circumstance. In some cases, the
     same supplier or provider appears multiple times in Schedule G. This multiple listing is to
     reflect distinct agreements between the applicable Debtor and such supplier or provider. In


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     such cases, the Debtors made their best efforts to determine the correct Debtor on which to
     list such executory contracts or unexpired leases. Certain of the executory contracts may not
     have been memorialized in writing and could be subject to dispute.

     The Debtors reserve all of their rights to dispute the validity, status, or enforceability of any
     contracts, agreements, or leases set forth in Schedule G and to amend or supplement such
     Schedule as necessary. Inclusion or exclusion of any agreement on Schedule G does not
     constitute an admission that such agreement is an executory contract or unexpired lease, and
     the Debtors reserve all rights in that regard, including, that any agreement is not executory,
     has expired pursuant to its terms, or was terminated prepetition.

7.   Schedule H - Codebtors. Although the Debtors have made every effort to ensure the
     accuracy of Schedule H, inadvertent errors, omissions, or inclusions may have occurred. The
     Debtors hereby reserve all rights to dispute the validity, status, and enforceability of any
     obligations set forth on Schedule H and to further amend or supplement such Schedule as
     necessary. Due to the voluminous nature of debts listed in the Schedules, and to avoid
     unnecessary duplication, the Debtors have not listed debts that more than one Debtor may be
     liable if such debt is also listed on Schedules E/F or G for the respective co-Debtor liable for
     such debt.

     The Debtors further reserve all rights, claims, and causes of action with respect to the
     obligations listed on Schedule H, including the right to dispute or challenge the
     characterization or the structure of any transaction, document, or instrument related to a
     creditor’s claim. The listing of a contract, guarantee, or other obligation on Schedule H shall
     not be deemed an admission that such obligation is binding, valid, or enforceable.

     In the ordinary course of their business, the Debtors are involved in pending or threatened
     litigation and claims arising out of the conduct of their business. These matters may involve
     multiple plaintiffs and defendants, some or all of whom may assert cross-claims and
     counterclaims against other parties. Because such claims are listed elsewhere in the
     Statements and Schedules, they have not been set forth individually on Schedule H.

     Schedule H also reflects guarantees by various Debtors. The Debtors may not have identified
     certain guarantees that are embedded in the Debtors’ executory contracts, unexpired leases,
     debt instruments, and other such agreements. Further, the Debtors believe that certain of the
     guarantees reflected on Schedule H may have expired or may no longer be enforceable.
     Thus, the Debtors reserve their right, but shall not be required, to amend the Schedules to the
     extent that additional guarantees are identified or such guarantees are discovered to have
     expired or are unenforceable.

                        General Disclosures Applicable to Statements

1.   Questions 1 and 2. The Debtors’ responses to Questions 1 and 2 should be referenced in
     conjunction with the “Intercompany Claims” Global Note above, as a reconciliation of the
     Debtors’ intercompany activities could result in material adjustments to the Debtors’ by-
     legal-entity revenue reporting.

2.   Question 3. The Debtors have responded to Question 3 in a detailed format by creditor. The


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     response to Question 3 includes any disbursement or other transfer made by the Debtors
     except for those made to insiders (which payments appear in response to Question 4),
     employees compensation, and bankruptcy professionals (which payments appear in response
     to Question 11). In addition, the response to Question 3 does not include checks that were
     either voided or not presented before the Petition Date.

     The Debtors pay certain vendors through a third-party credit card processor. Although the
     Debtors do not directly pay the vendors, they track the payments in their accounting system.
     Accordingly, Statement Question 3 includes payments to the third-party processor and the
     reconciliation of the vendor payments.

     In instances where payments are made via wire, the post date of the wire payment in the
     accounting system may be several days after the wire was actually sent as the Debtors do not
     reconcile the wire payments to the open payables on a daily basis.

3.   Questions 4 & 30. For purposes of the Schedules and Statements, the Debtors define
     insiders as individuals that, based upon the totality of circumstances, have a controlling
     interest in, or exercise sufficient control over the respective Debtor so as to unqualifiably
     dictate corporate policy and the disposition of assets. The Debtors do not take any position
     with respect to (i) such person’s influence over the control of the Debtors; (ii) the
     management responsibilities or functions of such individual; (iii) the decision-making or
     corporate authority of such individual; or (iv) whether such individual could successfully
     argue that he or she is not an “insider” under applicable law, including the federal securities
     law, or with respect to any theories of liability or any other purpose. As such, the Debtors
     reserve all rights to dispute whether someone identified in response to Question 4 is in fact
     an “insider” as defined in section 101(31) of the Bankruptcy Code. For more information
     regarding each Debtor’s officers and directors, see Questions 28 and 29. Additionally, the
     information contained herein in response to Question 4 is incorporated as the Debtors’
     response to Question 30 herein

     The payroll-related amounts shown in response to this question for any salary, bonus or
     additional compensation, and/or severance payments are gross amounts that do not include
     reductions for amounts including employee tax or benefit withholdings.

4.   Question 7. The Debtors reserve all of their rights and defenses with respect to any and all
     listed lawsuits and administrative proceedings. The listing of any such suits and proceedings
     shall not constitute an admission by the Debtors of any liabilities or that the actions or
     proceedings were correctly filed against the Debtors or any affiliates of the Debtors. The
     Debtors also reserve their rights to assert that a Debtor is not an appropriate party to such
     actions or proceedings.

5.   Question 9. In some instances employees may have provided charitable donations on behalf
     of the Debtors. In those instances, the employees were reimbursed by the Debtors.

6.   Question 11. All disbursements listed in Statement 11 were initiated and disbursed by Jack
     Cooper Transport Company, Inc. and Jack Cooper Transport Canada, Inc. but were for the
     benefit of all Debtors.



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7.    Question 13. While the Debtors have made reasonable efforts to respond comprehensively
      to Question 13, certain de minimis asset sales and transfers may be omitted unintentionally.

8.    Question 14. In the ordinary course of the Debtors’ business, the Debtors engage in short-
      term leases, generally on a month-to-month basis, to provide services consistent with their
      customer agreements for the storage of their customers’ overflow vehicles. In light of the
      Debtors’ short term use of such locations and the nature of such use, the addresses of these
      locations are not included herein.

9.    Question 21. The Debtors are in the automotive transport business delivering finished
      vehicles from manufacturing plants, vehicle distribution centers, seaports, and railheads to
      new vehicle dealerships. The Debtors operate a fleet of over 1,600 active rigs and a network
      of 39 terminals across the United States and Canada. At any given time, the Debtors are in
      possession of a large number of their customers’ finished vehicles that are in transit or in
      storage. Accordingly, it would be unduly burdensome and impractical to itemize herein all
      of the Debtors’ customers’ vehicles that are in the Debtors’ possession at any given time.

10. Questions 26a & 26c. All bookkeepers and accountants maintaining the Debtors’ books
    and records within two years prior to the Petition Date are employed by the Debtors’ within
    the Debtors’ internal accounting department. As of the Petition Date, the Debtors’ internal
    account department is in possession of the Debtors’ books and records.

11.   Question 26d. In the ordinary course of the Debtors’ business, the Debtors provide financial
      statements to a large number of third-parties, including, but not limited to, (i) the Debtors’
      lenders consistent with the Debtors’ obligations under the documentation governing the
      Debtors’ various credit facilities, (ii) the Debtors’ customers on a periodic basis, (iii) certain
      of the Debtors’ primary vendors, and (iv) certain of the Debtors’ lessors. Any effort to
      itemize and compile a list of each third-party to whom the Debtors issued a financial
      statement to in the two year prior to the Petition Date would be impracticable and unduly
      burdensome, as well as subject inadvertent omissions. Accordingly, the Debtors do not list
      such third-parties herein.

12.   Question 32. Information responsive to Question 32 is set forth in detail in the Debtors’
      response to Question 17.




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 Fill in this information to identify the case:

 Debtor name         Jack Cooper Holdings Corp.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ATLANTA DIVISION)

 Case number (if known)         19-62410
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Jack Cooper Transport Co. Inc.                              8/2/2019                        $450,000.00           Secured debt
               1100 Walnut Street                                                                                                Unsecured loan repayments
               Suite 2400                                                                                                        Suppliers or vendors
               Kansas City, MO 64106                                                                                             Services
                                                                                                                                 Other Corporate




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    River Birch Capital, LLC v.                       Securities                 United States District Court                 Pending
               Jack Cooper Holdings Corp.,                                                  for the                                      On appeal
               T. Michael Riggs, and Michael                                                Southern District of New
                                                                                                                                         Concluded
               Testman                                                                      York
               No. 17-cv-09193                                                              500 Pearl Street
                                                                                            New York, NY 10007


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value




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 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers           Total amount or
                                                                                                                        were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                   Date transfer           Total amount or
               Address                                           payments received or debts paid in exchange              was made                         value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

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                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Do you still
                                                                      access to it                                                               have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
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      medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    See SOFA Part 13, Question                                                                        EIN:
             25 Attachment
                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Internal Company Accounting Team                                                                                           2017-2019
                    1100 Walnut St, STE 2400
                    Kansas City, MO 64106

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

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       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To
       26b.1.       KPMG                                                                                                                  2017
                    1000 Walnut Street, STE 1100
                    Kansas City, MO 64106

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Internal Company Accounting Team                                                         2017-2019
                    1100 Walnut St, STE 2400
                    Kansas City, MO 64106

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Alex Meza                                      1100 Walnut Street, Suite 2400                      Officer
                                                      Kansas City, MO 64106

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Greg May                                       1100 Walnut Street, Suite 2400                      Officer
                                                      Kansas City, MO 64106

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Jeff Herr                                      1100 Walnut Street, Suite 2400                      Officer
                                                      Kansas City, MO 64106

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Katie Helton                                   1100 Walnut Street, Suite 2400                      Officer
                                                      Kansas City, MO 64106

       Name                                           Address                                             Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Michael Riggs                                  1100 Walnut Street, Suite 2400                      Director/Officer
                                                      Kansas City, MO 64106




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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Sarah Amico                                    1100 Walnut Street, Suite 2400                      Director/Officer
                                                      Kansas City, MO 64106

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Theo Ciupitu                                   1100 Walnut Street, Suite 2400                      Officer
                                                      Kansas City, MO 64106



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Kyle Haulotte                                  1100 Walnut Street, Suite 2400                      Director                         4/18/2018 -
                                                      Kansas City, MO 64106                                                                4/01/2019


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Please refer to Schedule
       .    SOFA P2, Q4


               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Jack Cooper Enterprises, Inc.                                                                              EIN:        XX-XXXXXXX (2014-2017)

    Jack Cooper Investments, Inc.                                                                              EIN:        XX-XXXXXXX (2018)

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation



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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 6, 2019

 /s/ Greg May                                                           Greg May
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                                                                                  SOFA Part 13, Question 25 - Other businesses in which the Debtor has or has had an interest




                                                                                                                                                                                                                                                       Nature of   Beginning and Ending
                                Name                                       Address1                             Address2                       Address3                    City           State      Zip       Country         Taxpayer ID No. (EIN)   Business           Dates
Arrendadora de Equipo Para El Transporte De Automoviles
("Areta") S. de R.L. de C.V.                                Alejandro Dumas # 42                    Col. Polanco Chapultepec      Delegación Miguel Hidalgo       Mexico D.F.                     CP 11560 Mexico           AET9712226G8 (Mexico)                               12/22/1997
Auto & Boat Relocation Services, LLC                        35 Cold Spring Road                     Ste. 511                                                      Rocky Hill            CT        06067                     XX-XXXXXXX                                           11/3/1995
Auto Export Shipping, Inc.                                  187 Mill Lane                           Ste. 103                                                      Mountainside          NJ        07092                     XX-XXXXXXX                                           3/10/1999
Auto Handling Corp.                                         1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                           1/24/1972
Axis Logistic Services, Inc. (DBA Jack Cooper Relocation)   1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                          11/18/2013
Axis Logistica S. de R.L. de C.V.                           Ave. Lopez Mateos Sur # 4321 int 10     Col. La Calma                                                 Zapopan               Jalisco   CP 45070 Mexico           ALC990225MY4 (Mexico)                                 3/1/1999
Axis Operadora Guadalajara S.A. de C.V.                     Ave. Arcos Sur 267 Int 202              Col. Los Arcos Sur                                            Guadalajara           Jalisco   CP 44500 Mexico           AOG060411IQ7 (Mexico)                                4/11/2006
Axis Operadora Hermosillo S.A. de C.V.                      Ave. Arcos Sur # 267 int 202            Col. Arcos Vallarta Sur                                       Guadalajara           Jalisco   CP 44500 Mexico           AOH050427IS5 (Mexico)                                4/27/2005
Axis Operadora Mexico S.A. de C.V.                          PATRICIO SANZ # 722                     COL. DEL VALLE                                                MEXICO D.F.                     CP 03100 Mexico           AOM060411IG2 (Mexico)                                4/11/2006
Axis Operadora Monterrey S.A. de C.V.                       Ave. Paseo del Alba # 230 Int 5                                                                       Santiago Tepalcapa              CP 54768 Mexico           AOM060411NC6 (Mexico)                                4/11/2006
Axis Traslados S. de R.L. de C.V.                           Ave. Arcos Sur 267 Int 202              Col. Los Arcos Sur                                            Guadalajara           Jalisco   CP 44500 Mexico           ATR060622FP9 (Mexico)                                6/22/2006
CarPilot, Inc.                                              630 Kennesaw Due West Road                                                                            Kennesaw              GA        30152                     XX-XXXXXXX                                4/8/2016 - 4/29/2019
CTEMS, LLC                                                  576 Sycamore Drive                                                                                    Milpitas              CA        95035                     XX-XXXXXXX                                           2/14/2011
Jack Cooper Canada 1 Limited Partnership                    235100 Ryan Road SE                                                                                   Rocky View            AB        T1X 0K3 Canada            XX-XXXXXXX (US)                                     11/13/2013
Jack Cooper Canada 2 Limited Partnership                    2709 De La Rotonde                                                                                    Charny                QC        G6X 2M2 Canada            XX-XXXXXXX (US)                                     11/13/2013
Jack Cooper Canada GP 1 Inc.                                Registered Office                       66 Wellington Street West     Suite 5300                      Toronto               ON        M5K 1E6 Canada            XX-XXXXXXX (US)                                     11/13/2013
Jack Cooper Canada GP 2 Inc.                                2709 De La Rotonde                                                                                    Charny                QC        G6X 2M2 Canada            XX-XXXXXXX (US)                                     11/13/2013
Jack Cooper CT Services, Inc.                               1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                          11/18/2013
Jack Cooper Diversified, LLC                                1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                           3/28/2018
Jack Cooper Finance Co.                                     1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                          10/22/2013
Jack Cooper Logistics, LLC                                  1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                           11/9/2010
Jack Cooper Rail & Shuttle, Inc.                            1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                          11/18/2013
Jack Cooper Specialized Transport, Inc.                     1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                               8/31/2011 - 4/29/2019
Jack Cooper Transport Canada, Inc.                          2709 De La Rotonde                                                                                    Charny                QC        G6X 2M2 Canada            XX-XXXXXXX (US)                                      1/13/2010
Jack Cooper Transport Company, Inc.                         1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                           1/26/1939
JCH México, S. de R.L. de C.V.                              Ave. De los Arcos # 267 int 107         Col. Arcos Sur                                                Guadalajara           Jalisco   CP 44150 Mexico           JME131211F10 (Mexico)                               12/13/2013
JCSC Netherlands 2 C.V.                                     1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX (US)                        12/10/2013 - 12/28/2017
JCSV Dutch 1 C.V.                                           1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX (US)                         12/6/2013 - 12/28/2017
JCSV Dutch B.V.                                             Prins Bernhardplein 200                                                                               Amsterdam                       1097 JB The Netherlands   853451072 (Dutch)                       12/5/2013 - 12/28/2017
JCSV Dutch Cooperatief U.A.                                 Prins Bernhardplein 200                                                                               Amsterdam                       1097 JB The Netherlands   XX-XXXXXXX (US)                                      12/9/2013
JCSV I LLC                                                  1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     N/A                                     12/5/2013 - 12/28/2017
JCSV II LLC                                                 1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     N/A                                     12/6/2013 - 12/28/2017
JCSV III LLC                                                1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     N/A                                    11/20/2013 - 12/28/2017
North American Auto Transportation Corp. (DBA NA Auto
Transport & North American Auto Transport)                  1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                                            9/7/2018
Pacific Motor Trucking, Inc.                                1100 Walnut St.                         Ste. 2400                                                     Kansas City           MO        64106                     XX-XXXXXXX                               7/20/1988 - 6/11/2019




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